






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






ON REMAND








NO. 03-05-00395-CR






The State of Texas, Appellant



v.



Billy Moore, Appellee






FROM THE COUNTY COURT AT LAW NO. 7  OF TRAVIS COUNTY


NO. 679565, HONORABLE ELISABETH EARLE, JUDGE PRESIDING






O P I N I O N


 

A jury found appellee Billy Moore guilty of driving while intoxicated, for which the
court imposed a 100-day term of incarceration.  See Tex. Penal Code Ann. § 49.04 (West 2003).  The
trial court later granted Moore's second amended motion for new trial on the ground that the State
failed to disclose material evidence to the defense.  On original submission, we reversed the order
on procedural grounds.  State v. Moore, No. 03-05-00395-CR, 2006 Tex. App. LEXIS 518, at *4
(Tex. App.--Austin Jan. 19, 2006) (mem. op., not designated for publication).  Moore successfully
challenged this ruling in a petition for discretionary review, and the court of criminal appeals
remanded the cause to us to consider the merits of the State's challenge to the trial court's order.  See
State v. Moore, No. PD-0359-06, 2007 Tex. Crim. App. LEXIS 696 at *44 (Tex. Crim. App. June
6, 2007).  We will again reverse the order.

Austin police officer Lance McConnell and his partner were in the process of issuing
a traffic citation at about 1:00 a.m. on September 4, 2004, when they were passed by a vehicle from
which loud, amplified music could be heard.  Believing that the driver of this vehicle was violating
the city's noise ordinance, McConnell followed the vehicle in his patrol car with his emergency
lights activated.  The driver of the suspect vehicle, who was Moore, apparently did not notice the
officer.  Moore stopped outside a nightclub, got out of his vehicle, and began to walk into the club. 
McConnell detained him before he got inside.  McConnell testified that Moore's breath smelled of
alcoholic beverage, his eyes were bloodshot and glassy, and he leaned against his vehicle for balance. 
McConnell called for a DWI enforcement officer.  That officer, Jane Pacifico, testified that she
administered the standard field sobriety tests and that Moore failed them.  Based on this testimony,
the jury convicted Moore of driving while intoxicated.

In his second amended motion for new trial, Moore asserted that the State violated
its obligations under Brady v. Maryland, 373 U.S. 83 (1963), by failing to disclose the existence of
an investigation by the Texas Attorney General into McConnell's alleged possession and promotion
of child pornography that was ongoing at the time of Moore's trial. (1)  Moore conceded that evidence
of McConnell's alleged unlawful activities was not admissible to show bad character for
truthfulness, but he urged that he could have used the existence of the investigation to impeach
McConnell's testimony on the theory that he was seeking to curry favor with the prosecutors and
thereby avoid prosecution by testifying favorably to the State.  See Tex. R. Evid. 608(b), 613(b).

Documents attached to the motion and admitted at the hearing reflect that in
December 2004, McConnell's internet service provider notified the National Center for Missing and
Exploited Children that one of its accounts had been used to email child pornography.  The center
notified the Dallas police, who in turn notified the attorney general's cyber crimes office.  The
documents do not reflect when investigators identified McConnell as the owner of the account or
learned that he was a police officer.  On March 23, 2005, the day after Moore's trial ended, officers
executed a search warrant at McConnell's residence in Caldwell County and seized his computer. (2) 
A large quantity of child pornography was found on the hard drive.  On May 17, a federal indictment
was filed accusing McConnell of receiving, possessing, and transporting child pornography.  It is
undisputed that the prosecutors at Moore's trial were unaware of the investigation into
McConnell's&nbsp;activities.

At the new trial hearing, the court interrupted Moore's presentation regarding the
alleged unconstitutionality of the noise ordinance to announce, "I'm granting the Motion for New
Trial on the basis of Detective McConnell and we're not dealing with the other issue at this point in
time."  When the prosecutor asserted a lack of knowledge, Moore's counsel urged that knowledge
of an investigation by another law enforcement agency was imputable to the prosecutors.  The court
expressed the view that the prosecutors could have learned of the investigation had they run a
criminal background check on McConnell before calling him as a witness.  The court stated, "The
point is that under the situation, the defense should have been at least told about this so it could have
been dealt with outside the presence of the jury at the time of trial.  That's why the Motion for New
Trial is granted."

We review a trial court's decision to grant a motion for new trial for an abuse of
discretion.  State v. Read, 965 S.W.2d 74, 77 (Tex. App.--Austin 1998, no pet.).  An abuse of
discretion occurs when the trial court's decision was arbitrary or unreasonable, without reference to
any guiding rules or principles.  Id. at 77-78.  We will affirm the trial court's action if it is correct
on any theory of law applicable to the case and supported by the record.  Id. at 77.

Under Brady, a prosecutor has an affirmative duty to turn over material, exculpatory
evidence.  373 U.S. at 87.  Exculpatory evidence includes impeachment evidence.  United States
v.&nbsp;Bagley, 473 U.S. 667, 676 (1985).  Evidence is material if there is a reasonable probability that,
had the evidence been disclosed to the defense, the outcome of the proceedings would have been
different.  Id. at 682.  The State argues that there was no Brady violation at Moore's trial because
the prosecutors were unaware of the attorney general's investigation, the existence of the
investigation was not impeachment evidence under the circumstances, and the existence of the
investigation was not material.

The duty to disclose under Brady arose only if the prosecutors or other members of
the "prosecuting team" knew of the investigation or had access to the information.  See Hafdahl
v.&nbsp;State, 805 S.W.2d 396, 399 n.3 (Tex. Crim. App. 1990); Ex parte Brandley, 781 S.W.2d 886,
892&nbsp;n.7 (Tex. Crim. App. 1989).  Prosecutors have a duty to learn of any evidence favorable to the
defense that is known to others acting on the government's behalf in the case, including the police. 
Kyles v. Whitley, 514 U.S. 419, 437 (1995).  Although the Texas Attorney General may conduct
investigations into criminal activities, the office is not a prosecuting agency and exercises no
authority or control over local prosecutors so as to be considered a part of the "prosecution team"
generally.  See Saldano v. State, 70 S.W.3d 873, 876, 880 (Tex. Crim. App. 2002) (holding that
authority to prosecute criminal cases is given to county attorneys, criminal district attorneys, and
district attorneys; attorney general has no authority to initiate prosecution at any level of state court). 
As for this particular case, there is no evidence that the attorney general's investigators who were
conducting the child pornography inquiry were involved in or knew about Moore's DWI prosecution,
nor is there any evidence that Austin or Travis County law enforcement officers or prosecutors were
involved in or knew about the attorney general's investigation into McConnell's activities.  

On this record, there is no basis for imputing to the Travis County prosecutors any
knowledge of the attorney general's investigation into McConnell's improper activities or for
faulting them for having failed to discover the existence of the investigation before Moore's trial. 
See Shanks v. State, 13 S.W.3d 83, 86 (Tex. App.--Texarkana 2000, no pet.) (holding that
prosecutors at trial for assaulting prison guard had no duty to learn that guard's supervisor, a witness
at trial, had been disciplined for use of excessive force by department of criminal justice).  Moore
refers us to several federal circuit court opinions holding that prosecutors had a duty to search for
impeachment evidence, but as Moore states in his brief, these cases involved searches of files
maintained by branches of government "closely aligned with the prosecution."  United States ex rel.
Smith v. Fairman, 769 F.2d 386, 391 (1985).  Moore cites no authority holding that prosecutors must
search the files of government agencies generally, including those uninvolved in and unrelated to the
prosecution, for evidence that might have impeachment value to the defense.  There is also no
evidence warranting an inference that a routine criminal background check would have disclosed the
existence of the ongoing McConnell investigation which at the time of Moore's trial had not resulted
in an arrest or the filing of charges.

Setting aside the question whether the prosecutors should have known of the
investigation into McConnell's activities, the record does not support a finding that the existence of
the investigation was impeachment evidence or otherwise material to Moore's defense.  There is no
evidence that McConnell knew that he was being investigated for possession of child pornography
at the time he testified at Moore's trial.  Moore's argument that the existence of the investigation
could have been used to impeach McConnell for bias is unpersuasive absent any basis for inferring
that McConnell was aware of the investigation and thus had a motive to curry favor with the
prosecutors.  See Ex parte Kimes, 872 S.W.2d 700, 703 (Tex. Crim. App. 1993).  Even if the
existence of the investigation had been discovered by the prosecutors and disclosed to Moore outside
the jury's presence, it would have had no value as impeachment so long as McConnell remained
unaware of it.  Thus, there is no basis for concluding that the outcome of Moore's trial would have
been different had the existence of the investigation been disclosed to the defense.

By the time that Moore filed his amended motion for new trial, McConnell's  alleged
unlawful activities were a matter of public knowledge.  A new trial must be granted when material
evidence favorable to the accused is discovered after trial.  See Tex. Code Crim. Proc. Ann. art.
40.001 (West 2006).  Under article 40.001, newly discovered evidence is not material if it is merely
impeaching.  Wallace v. State, 106 S.W.3d 103, 108 (Tex. Crim. App. 2003); Delamora v. State,
128&nbsp;S.W.3d 344, 354 (Tex. App.--Austin 2004, pet. ref'd).  The evidence regarding McConnell's
involvement in child pornography was at most impeaching and thus not material evidence entitling
Moore to a new trial under article 40.001.

Moore argues that regardless of whether a Brady violation was shown or newly
discovered evidence was presented, the trial court was authorized to grant a new trial in the interest
of justice.  See State v. Gonzalez, 855 S.W.2d 692, 693-94 (Tex. Crim. App. 1993).  The court of
criminal appeals recently observed that a trial court's discretion to grant a new trial in the interest
of justice is not "unbounded or unfettered."  State v. Herndon, 215 S.W.3d 901, 907 (Tex. Crim.
App. 2007).  The court wrote:


A trial judge does not have authority to grant a new trial unless the first
proceeding was not in accordance with the law.  He cannot grant a new trial on mere
sympathy, an inarticulate hunch, or simply because he personally believes that the
defendant is innocent or "received a raw deal." . . .  Although not all of the grounds
for which a trial court may grant a motion for new trial need be listed in statute or
rule, the trial court does not have discretion to grant a new trial unless the defendant
shows that he is entitled to one under the law.  To grant a new trial for a non-legal or
legally invalid reason is an abuse of discretion.



Id.  As a general rule, a trial court will not abuse its discretion in granting a motion for new trial if
the defendant (1) articulated a valid legal claim in his motion, (2) produced evidence or pointed to
evidence in the trial record that substantiated his legal claim, and (3) showed prejudice to his
substantial rights under the rules of appellate procedure.  Id. at 909; see Tex. R. App. P. 44.2.


The defendant need not establish reversible error as a matter of law before the trial
court may exercise its discretion in granting a motion for new trial.  On the other
hand, trial courts do not have the discretion to grant a new trial unless the defendant
demonstrates that his first trial was seriously flawed and that the flaws adversely
affected his substantial rights to a fair trial.



Herndon, 215 S.W.3d at 909. 

Moore articulated valid legal claims in his amended motion for new trial: a Brady
violation and, more broadly, the denial of an opportunity to impeach a State witness with evidence
of bias.  But as we have discussed, Moore did not produce evidence to substantiate these claims. 
There is no evidence that the prosecutors knew or should have known about the investigation into
McConnell's involvement in child pornography, and thus no evidence of a Brady violation.  And
there is no evidence that McConnell knew about the investigation, and thus there is no evidence that
he had a reason to be biased in favor of the State or that Moore's impeachment right was prejudiced.

Moore argues that it was the State's obligation to make a record establishing an abuse
of discretion, citing the court of criminal appeals's observation that "[a]n appellate court should not
fault a trial judge for granting a motion for new trial when the State fails to provide an appellate
record establishing an abuse of discretion."  Gonzalez, 855 S.W.2d at 695.  In Gonzalez, the court
determined that the evidence presented by the defendant was sufficient to justify the grant of a new
trial and it was the State's burden to controvert it.  In the instant cause, on the other hand, Moore did
not present evidence that substantiated his legal claim to a new trial.  See Herndon,
215&nbsp;S.W.3d&nbsp;at&nbsp;909.

Viewing the evidence adduced in support of the motion for new trial in the light most
favorable to the trial court's ruling, we must conclude that Moore failed to demonstrate that his trial
was seriously flawed and that the flaws adversely affected his substantial rights to a fair trial.  We
hold that the trial court abused its discretion by granting the amended motion for new trial.

The order granting a new trial is reversed and the cause is remanded to the trial court.



				___________________________________________

				David Puryear, Justice

Before Justices Patterson, Puryear and Pemberton

Reversed and Remanded on Remand

Filed:   August 3, 2007

Publish
1.         Moore also challenged the constitutionality of the city noise ordinance on which the stop was
based.
2.        There is no suggestion in the record or the arguments that the timing of the search relative to
Moore's trial was anything other than a coincidence.


